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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


 CASTEN CLAUSNER, individually and                   )
 on behalf of all others similarly situated,         )
                                                     )
        Plaintiff,                                   )
                                                     )
 v.                                                  )   Case No. 4:25-CV-00711-SPM
                                                     )
 AMERICAN MULTISPECIALTY GROUP                       )
 INC., d/b/a ESSE HEALTH,                            )
                                                     )
        Defendant.                                   )


                                MEMORANDUM AND ORDER

       This matter is before the Court on the Motion to Consolidate filed by Defendant American

Multispecialty Group, Inc. d/b/a Esse Health (“Esse Health”). (ECF No. 16). Esse Health moves

to consolidate this action with six other putative class actions that were recently removed to this

Court. For the following reasons, the motion will be granted.

       I.      BACKGROUND

       On May 15, 2025, Plaintiff Casten Clausner filed this putative class action lawsuit against

Esse Health relating to a data security incident that occurred in April 2025. Plaintiff alleges that

Esse Health failed to properly safeguard protected health information (“PHI”) and personally

identifiable information (“PII”) of patients and/or employees. Plaintiff alleges that the data breach

caused injuries including invasion of privacy, theft of PHI/PII, lost or diminished value of PII,

costs of investigating or mitigating the consequences of the breach, loss of the benefit of the

bargain, and risks that PII will be misused in the future. Plaintiff asserts claims of negligence,

breach of implied contract, unjust enrichment, invasion of privacy, and violation of Section 5 of


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the Federal Trade Commission Act, 15 U.S.C. § 45. Plaintiff seeks to represent a proposed

nationwide class defined as follows: “All individuals residing in the United States whose PHI/PII

were accessed and acquired by an unauthorized party as a result of a data breach that occurred on,

or about, April 2025, as reported by Defendant.” Complaint, ECF No. 1, ¶ 66.

       Six other putative class action lawsuits arising from the same April 2025 data breach were

filed against Esse Health in Missouri state court. Esse Health removed each of those cases to this

Court on June 18, 2025. Those cases are captioned as follows: Proffitt v. American Multispecialty

Group Inc. d/b/a Esse Health, No. 4:25-CV-00884-SRC, Stuart v. American Multispecialty Group

Inc. d/b/a Esse Health, No. 4:25-CV-00886-SRW, Wippold v. American Multispecialty Group Inc.

d/b/a Esse Health, No. 4:25-CV-00889-RHH, Garside v. American Multispecialty Group Inc.

d/b/a Esse Health, No. 4:25- CV-00890-SRW, Willis v. American Multispecialty Group Inc. d/b/a

Esse Health, No. 4:25-CV-00892-RHH, and Walker v. American Multispecialty Group, Inc. d/b/a

Esse Health, No. 4:25-CV-00893-SPM (collectively, the “Related Actions.”). The facts and

injuries alleged in the Related Actions are very similar to those alleged in this action. The specific

claims asserted in each action are not identical, but each actions includes claims of negligence,

unjust enrichment, and breach of implied contract. The proposed class definitions in four of the

Related Actions are substantively identical to the nationwide class action proposed in this action.

However, the Wippold action proposes a class of “Missouri citizens,” and the Walker action

proposes a class of individuals “residing in the State of Missouri.”

       II.     DISCUSSION

       Esse Health now moves to consolidate this action with the Related Actions. Consistent

with Local Rule 4.03, Esse Health filed the motion in this action because it is the case bearing the

lowest number. See E.D. Mo. L.R. 4.03 (“A party desiring the consolidation of related cases shall



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file a motion in the case bearing the lowest cause number. . . . The district or magistrate judge

presiding in the lowest-numbered case shall rule on the motion.”). Also consistent with Local Rule

4.03, Esse Health filed in each of the Related Actions a notice of the motion to consolidate, to

which the motion was attached. No responses to the motion to consolidate have been filed.

       Under Rule 42(a) of the Federal Rules of Civil Procedure, “If actions before the court

involve common questions of law or fact, the court may: . . . (2) consolidate the actions . . . .” Fed.

R. Civ. P. 42(a). A district court has broad discretion in determining whether to order

consolidation. Enter. Bank v. Saettele, 21 F.3d 233, 235 (8th Cir. 1994). “The threshold issue is

whether the proceedings involve a common party and common issues of fact or law..” A.O.A. v.

Doe Run Res. Corp., No. 4:11CV44 CDP, 2016 WL 1182631, at *2 (E.D. Mo. Mar. 28, 2016).

“The mere existence of common issues, however, does not mandate that the cases be joined.” Id.

Consolidation is inappropriate “if it leads to inefficiency, inconvenience, or unfair prejudice to a

party.” E.E.O.C. v. HBE Corp., 135 F.3d 543, 551 (8th Cir. 1998).

       After review of Esse Health’ motion and the complaints in all seven actions, the Court finds

that consolidation is appropriate here. The actions involve a common defendant. The actions arise

from the same incident, involve similar alleged injuries, and assert several of the same causes of

action. The actions are all at the same stage of litigation, and they will likely involve very similar

discovery, defenses, and dispositive motions. The Court finds that consolidation will promote

efficiency, convenience, and judicial economy. Additionally, no party has suggested that it will be

prejudiced by consolidation. The Court will therefore grant the motion to consolidate. See In re

Navvis & Co., LLC Data Breach Litig., No. 4:24-CV-00029-AGF, ECF No. 21 (E.D. Mo. Feb. 9,

2024) (consolidating several putative class actions where the cases “ar[o]se out of similar facts,

gr[ew]w out of the same alleged data breach, ha[d] proposed class definitions that will encompass



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the same persons, involve[d] the same defendant, and present[ed] common questions of law and

fact”); Lowe v. Pecorella, No. 4:23-CV-798-MTS, 2023 WL 4743246, at *1 (E.D. Mo. July 25,

2023) (finding consolidation was warranted where “[t]he cases involve[d] the same or similar

parties, causes of action, and allegations”).

       III.    CONCLUSION

       For all of the above reasons,

       IT IS HEREBY ORDERED that the Motion to Consolidate filed by Defendant American

Multispecialty Group, Inc. d/b/a Esse Health (“Esse Health”) (ECF No. 16) is GRANTED. The

Clerk is ordered to reassign the following cases to the undersigned and consolidate them with the

instant case for all purposes:

       a. Proffitt v. American Multispecialty Group Inc. d/b/a Esse Health, No. 4:25-CV-00884-
          SRC
       b. Stuart v. American Multispecialty Group Inc. d/b/a Esse Health, No. 4:25-CV-00886-
          SRW
       c. Wippold v. American Multispecialty Group Inc. d/b/a Esse Health, No. 4:25-CV-
          00889-RHH
       d. Garside v. American Multispecialty Group Inc. d/b/a Esse Health, No. 4:25- CV-
          00890-SRW
       e. Willis v. American Multispecialty Group Inc. d/b/a Esse Health, No. 4:25-CV-00892-
          RHH, and
       f. Walker v. American Multispecialty Group, Inc. d/b/a Esse Health, No. 4:25-CV-00893-
          SPM.
       IT IS FURTHER ORDERED that the Clerk shall docket and file a copy of this

Memorandum and Order in each of the above-noted cases.

       IT IS FINALLY ORDERED that the Clerk of Court shall administratively close each of

the above-noted cases. All future documents shall be filed only in this action, Case No. 4:25-CV-

00711-SPM. No further filings will be accepted in the closed cases.




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                                             SHIRLEY PADMORE MENSAH
                                             UNITED STATES MAGISTRATE JUDGE

Dated this 14th day of July, 2025.




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